EXHIBIT E
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         In re Deutsche Bank AG Securities Litigation, No. 1:09-cv-01714-GHW-RWL
                            Robbins Geller Rudman & Dowd LLP

Court Hearing Transcripts, Deposition Reporting, Deposition Transcripts, Deposition
Videography, and Deposition Conference Room Rentals: $68,030.54

        DATE                    VENDOR                             PURPOSE
 05/29/15               Second Circuit Court of      Hearing transcript
                        Appeals
 10/24/17               Southern District Reporter   10/16/17 Motion to dismiss hearing
                        PC                           transcript
 01/17/18               TSG Reporting, Inc.          12/20/17 N. Kaess deposition transcript
 02/27/18               TSG Reporting, Inc.          12/20/17 N. Kaess deposition video
 03/30/18               TSG Reporting, Inc.          01/26/18 S. Feinstein deposition
                                                     transcript
 06/28/18               Carole Ludwig,               07/08/16 Hearing transcript
                        Transcription Services
 07/13/18               Carole Ludwig,               07/02/18 Motion to compel hearing
                        Transcription Services       transcript
 01/23/19               Grand Hyatt                  Conference room deposit for M. Ferron
                                                     deposition on January 29, 2019
 01/29/19               Aptus Court Reporting,       01/20/19 M. Ferron deposition transcript
                        LLC
 02/06/19               Grand Hyatt                  Conference room for M. Ferron
                                                     deposition on January 29, 2019
 02/27/19               Aptus Court Reporting,       02/08/19 N. Stone deposition transcript
                        LLC
                                                     02/13/19 P. Weingord deposition
                                                     transcript
 02/28/19               Aptus Court Reporting,       02/27/19 R. Porritt Rule 30(b)(6)
                        LLC                          deposition transcript
 03/27/19               Aptus Court Reporting,       03/05/19 A. Jain deposition transcript
                        LLC
                                                     03/07/19 G. Wattles deposition
                                                     transcript
 03/29/19               Aptus Court Reporting,       03/12/19 J. Ackermann deposition
                        LLC                          transcript

                                                     03/14/19 G. Lippman deposition
                                                     transcript

                                                     03/19/19 H. Banziger deposition
                                                     transcript
      DATE           VENDOR                         PURPOSE
                                      03/21/19 J. Musanti deposition
                                      transcript

                                      03/26/19 D. Naidus deposition transcript

                                      03/28/19 M. Corteil deposition
                                      transcript

                                      03/29/19 A. Di Iorio deposition
                                      transcript
04/26/19     Aptus Court Reporting,   04/03/19 P. Torrente deposition
             LLC                      transcript
04/30/19     Aptus Court Reporting,   04/18/19 S. Lewis deposition transcript
             LLC
05/08/19     Aptus Court Reporting,   04/02/19 B. Weinstein deposition
             LLC                      transcript
09/26/19     Aptus Court Reporting,   09/06/19 A. Ahuja deposition transcript
             LLC
